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UNITED STATES DISTRICT CouRW K | 6 | N A L

 

 

 

NORTHERN DISTRICT OF NEW YORK __ US. DISTRICT COURT
N.D. OF N.Y.
FILED

UNITED STATES OF AMERICA CRIMINAL COMPLAINT

v. AUG 0 1 7008
JAMES SPEARS, LAWRENCE K. BAERMAN, CLERK

ALBANY
Defendant.

CASE NUMBER: /- 08 mj 322(deH)

I, the undersigned complainant being duly sworn state the following is true and
correct to the best of my knowledge and belief. On or about May 31, 2008, in Albany County, in the State
and Northern District of New York the above-named defendant did,

by force, violence and intimidation, take from the person and presence of another, money, that is, approximately
$2,845.00 in United States currency, belonging to and in the care, custody, control, management, and possession
of the Berkshire Bank of Guilderland, NY, which is a bank whose deposits were then insured by the Federal
Deposit Insurance Corporation,

in violation of Title _18 United States Code, Section 2113(a). I further state that lam a Special Agent
and that this complaint is based on the following facts:

Continued on the attached and made a part hereof. |X Yes No

ao ae Cea

Signature of Complainant

Charles Kessler
Federal Bureau of Investigation

 

Sworn to before me, and subscribed in my presence,

August 1, 2008 at Albany, New York
Date City and State

Hon. David R. Homer ’ Se
United States Magistrate Judge - N.D.N.Y. ® Werntin,

Name and Title of Judicial Officer Signature of Judicial Officer

 
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AFFIDAVIT OF CHARLES KESSLER
I, Charles Kessler, hereby swear and affirm as follows:

1. 1am a Special Agent with the Federal Bureau of Investigation (FBI)and have been so
employed for approximately ten (10) years. As part of our duties, we investigate federal
violations including Bank Robbery. I am an "investigative or law enforcement officer of the
United States" within meaning of Title 18, United States Code (USC), Section 2510 (7), and
empowered by law to conduct investigations and make arrests of offenses enumerated in Title 18
U.S.C. Section 2516.

2. This affidavit is submitted in support of an application for a complaint and arrest
warrant for JAMES SPEARS, previously of 219 Vermont View Drive, Watervilet, NY 12189;
dob: 10/31/1959, SPEARS is presently on federal supervised release for a previous bank robbery
conviction, United States v. James Spears, 00-CR-525 (LEK), on or about May 1, 2001 upon
which he was sentenced to 90 months imprisonment to be followed by 3 years Supervised
Release. In regards to SPEARS’ alleged recent criminal activity, he has been charged in Albany
County by felony complaint with Robbery Third Degree for his alleged robbery of the Berkshire
Bank in Guilderland on May 31, 2008 in which approximately $2,845.00 was stolen. He also has
been charged by felony complaint in Rensselaer County for his alleged commission of the March
25, 2008 bank robbery of the Key Bank at 720 Hoosick Road in Brunswick, NY in which
approximately $10,228.00 was stolen, and for his alleged commission of the April 11, 2008 bank
robbery of the same bank in which approximately $4,178.00 was stolen. Based on these recent
arrests on state charges, United States Probation Officer Michael Patnaude has filed a Violation
of Supervised Release Petition and an arrest warrant has been issued in conjunction therewith.

3. Iam familiar with the facts of this case as set forth herein based on my conversations
with FBI SA Tom Sonderoth and also my review of police reports of the Guilderland Police

Department involved in the investigation of this case.
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4. On May 31, 2008, at approximately 9:24 am, there was a bank robbery of the
Berkshire Bank at 1704 Western Avenue, in Guilderland, NY. Approximately $2,787.00 in U.S.
currency was stolen.

5. The suspect that had committed the robbery was described by two bank employees
as a white male, approximately 40-50 years of age, wearing a blue baseball cap, a dark colored
shirt with an emblem on the upper left front corner, and blue jeans. The witnesses also indicated
that the suspect exited the parking lot in a black convertible BMW going eastbound on Western
Avenue. One of the tellers had described the suspect as having walked into the bank, holding a
white piece of paper in his hand which he did not display and that he said, “Give me all your
money, I want large, give me all your large. I’m not kidding, hurry up.” The teller also described
the suspect as stinking of cigarettes.

6. As police responded to the vicinity of the reported robbery, officers with the Colonie
Police Department observed a black convertible BMW. The vehicle did not stop and a vehicle
pursuit ensued.

7. The vehicle, which was a 2005 BMW convertible, black in color, NY LG 12845, Vin
# WBABW53435PL52438, ultimately stopped at the front entrance of the Stratton VA Medical
Center at 113 Holland Avenue in Albany, NY. As officers continued to pursue, the lone
occupant of the vehicle fled and ran into the hospital and was apprehended by officers on the
back side of the hospital. As part of the subsequent police investigation it was learned that the
vehicle the defendant had been driving was registered to his girlfriend. She subsequently
provided a statement to police verifying her ownership of the car and that the defendant had
driven off in the car earlier that morning. She also informed police that he had left her a voice

mail message on her cell phone apologizing for and admitting that he committed a bank robbery

and was in the midst of being chased by police. A copy of that recording was obtained by police
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as evidence.

8. Inv. Charles Tanner with the Guilderland Police Department did personally view
surveillance tapes of the bank robbery provided by Berkshire Bank which showed the
suspect/perpetrator of the robbery as a white male, appearing to be 40-50 years of age, wearing a
blue baseball cap, a dark colored shirt with emblem on the upper left front corner and blue jeans.

9. Inv. Tanner and the two bank employee witnesses responded to the Stratton VA
Hospital, and all identified the suspect being detained as the person who had committed the
robbery and who could be seen on the video surveillance tapes. The witnesses were also able to
identify the vehicle as the vehicle the suspect had fled in.

10. In plain view in the vehicle on the front passenger seat was a blue baseball style hat
and loose U.S. currency consistent with the type involved in the commission of the robbery. At
the time of his arrest the suspect was found to have $2,788.51 in his pocket. Subsequent to the
suspect’s arrest, police applied for, obtained, and executed a search warrant for the vehicle.
Amongst other items located, there was 11 Marlboro cigarettes, 1 CVS receipt and 2 CVS
shopping bags.

11. During the investigation police learned that the suspect subsequent to the robbery
went to the CVS drugstore at Sand Creek and Wolf Road. Police responded to that location and
observed and took into evidence surveillance videos where the robbery suspect was clearly
observed purchasing various items and holding what appeared to be a large amount of cash in his
hands.

12. A cash audit done by the bank after-the-fact showed that $2,845.00 was stolen.

13. The defendant was transported to police barracks, given his Miranda rights, did not
request an attorney and indicated he was willing to answer questions, and provided a full verbal
confession to committing this and two other bank robberies earlier in the spring in Brunswick,

NY. He was interviewed by Guilderland Police Investigators Charles Tanner and John Guanay.
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The entire interview was recorded and is in evidence.

14. The deposits of the Berkshire Bank are insured by the Federal Deposit Insurance
Corporation (FDIC).

15. Based on the foregoing, I respectfully submit that the foregoing facts provide
probable cause for a criminal complaint charging JAMES SPEARS with violation of Title 18

United States Code 2113(a) and issuance of an accompanying arrest warrant.

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LO
CHARLES KESSLER
Special Agent
Federal Bureau of Investigation

Sworn and subscribed
to before me this
1ST day of August, 2008.

—Prcoe'et RE herman

HON. DAVID R. HOMER
UNITED STATES MAGISTRATE JUDGE

 
